Case 2:O4-cV-O2449-.]DB-tmp Document 25 Filed 05/23/05 Page 1 of 2 Page|D 28

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

DONNA F. R.EDMON,
Plaintiff,
vs.

Civ. No. 04-2449-3[?

NORM.AN MINETA, SECRETARY
U.S. DEPARTMENT OF
TR_ANSPORTATION,

Defendant.

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ORDER GRANTING PLAIN'I‘IFF'S MOTION TO EXTEND ALL DEADLINES

 

Before the court is plaintiffs’ Motion to Extend all
Deadlines, filed May 13, 2005 (Dkt #20). For good cause shown and
no opposition, the motion, for a ninety~day extension of the
discovery deadlines is GRANTED. The parties shall appear before
the magistrate judge on June 9, 2005, at 10:00 a.m., in courtroom

#6, third floor, to discuss new deadlines.

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IT lS SO ORDERED.

 

 

TU M. PHAM

United States Magistrate Judge
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Date `

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This notice confirms a copy of the document docketed as number 25 in
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Honorable J. Breen
US DISTRICT COURT

